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     Federal Defender
2    Matthew C. Bockmon, Bar #161566
     Assistant Federal Defender
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     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     MANDA LYNN WENTZLOFF
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7
8                                   IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )                CASE NO. CR. S-11-476 LKK
                                           )
12                     Plaintiff,          )               STIPULATION AND ORDER TO CONTINUE
                                           )               STATUS CONFERENCE AND TO EXCLUDE
13         v.                              )               TIME PURSUANT TO THE SPEEDY TRIAL
                                           )               ACT
14                                         )
     MANDA LYNN WENTZLOFF,                 )                Date: May 1, 2012
15                                         )                Time: 9:15 a.m.
                       Defendant.          )                Judge: Lawrence K. Karlton
16   _____________________________________ )
17          It is hereby stipulated and agreed to between the United States of America through JARED DOLAN,
18   Assistant U.S. Attorney, and defendant, MANDA LYNN WENTZLOFF, by and through her counsel,
19   MATTHEW C. BOCKMON, Assistant Federal Defender, that the status conference set for Tuesday, April 10,
20   2012, be continued to Tuesday, May 1, 2012, at 9:15 a.m.
21          The reason for this continuance is because additional time is needed for defense preparation and for
22   meetings between the parties with the goal being to resolve the case by way of a disposition. Ms. Wentzloff
23   continues to do well in the residential treatment program and comply with her conditions of pretrial release.
24   In addition, co-defendant Jasen Dushane is on calendar May 1, 2012, for status conference.
25          It is further stipulated that the time period from the date of this stipulation, April 5, 2012, through and
26   including the date of the new status conference hearing, May 1, 2012, shall be excluded under the Speedy Trial
27   ///
28   ///
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1    Act (18 U.S.C. §3161(h)(7)(A) &(B)(iv) and Local Code T4, due to the need to provide defense counsel with
2    the reasonable time to prepare, and that the ends of justice to be served by granting the continuance outweigh
3    the best interests of the public and the defendant in a speedy trial.
4    DATED: April 5, 2012
5           Respectfully submitted,
6    BENJAMIN B. WAGNER                                     DANIEL J. BRODERICK
     United States Attorney                                 Federal Defender
7
     By:
8
      /s/ Matthew C. Bockmon for                             /s/ Matthew C. Bockmon
9    JARED DOLAN                                            MATTHEW C. BOCKMON
     Assistant U.S. Attorney                                Assistant Federal Defender
10   Attorney for United States                             Attorney for Defendant
                                                            MANDA LYNN WENTZLOFF
11
12
13                                                     ORDER
14          Based on the reasons set forth in the stipulation of the parties filed on April 5, 2012, and good cause
15   appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS HEREBY ORDERED
16   that the status conference currently scheduled for Tuesday, April 10, 2012, be vacated and that the case be set
17   for Tuesday, May 1, 2012, at 9:15 a.m. The Court finds that the ends of justice served by granting such a
18   continuance outweigh the best interests of the public and the defendant in a speedy trial. Accordingly, IT IS
19   HEREBY ORDERED that, for the reasons stated in the parties’ April 5, 2012, stipulation, the time within
20   which the trial of this matter must be commenced under the Speedy Trial Act is excluded during the time
21   period from the date of this stipulation, April 5, 2012, through and including May 1, 2012, pursuant to 18
22   U.S.C. §3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local Code T4.
23
24   DATED: April 5, 2012
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